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1    ROBERT W. FERGUSON
     Attorney General
2
     SPENCER W. COATES, WSBA #49683
3    Assistant Attorney General
     800 Fifth Avenue, Suite 2000
4    Seattle, WA 98104-3188
     (206) 464-7744
5
     ZACHARY J. PEKELIS, WSBA #44557
6    Special Assistant Attorney General
     PACIFICA LAW GROUP LLP
7    1191 2nd Avenue, Suite 2000
     Seattle, WA 98101-3404
8    (206) 245-1700

9
10                   UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WASHINGTON
11
     NICHOLAS ROLOVICH,                          NO. 2:22-cv-00319-TOR
12
                         Plaintiff,              DEFENDANT’S RULE 60(a)
13                                               MOTION TO CORRECT
        v.                                       CLERICAL MISTAKE
14
     WASHINGTON STATE                            February 5, 2025
15   UNIVERSITY, et al.,                         Without Oral Argument

16                       Defendants.

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                                                                PACIFICA LAW GROUP LLP
     DEFENDANT’S RULE 60(a)                                  1191 SECOND AVENUE, SUITE 2000
     MOTION                                                       SEATTLE, WA 98101-3403
                                                                 TELEPHONE: (206) 245-1700
                                                                 FACSIMILE: (206) 245-1750
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1                                          MOTION

2          Defendant Washington State University (WSU) respectfully moves the

3    Court pursuant to Federal Rule of Civil Procedure 60(a) to “correct a clerical

4    mistake or a mistake arising from oversight or omission” in its Order on Cross

5    Motions for Summary Judgment, ECF No. 135. WSU requests that the Court

6    correct two aspects of its Order:

7          First, the Order states that the parties’ cross-motions for summary

8    judgment “were submitted for consideration with oral argument.” Id. at 1

9    (emphasis added). Argument was not requested by either party nor heard. See

10   ECF Nos. 88, 93.

11         Second, the Order states that, under Title VII, “[a]n accommodation may

12   result in an undue hardship if there is ‘more than a de minimis cost to the

13   employer . . . [or] more than a de minimis impact on coworkers.’” ECF No. 135

14   at 6 (quoting Balint v. Carson City, 180 F.3d 1047, 1054 (9th Cir. 1999) (en

15   banc)). Although the passage accurately quotes Balint, the Supreme Court

16   recently disapproved of the “de minimis cost” language. See Groff v. DeJoy, 600

17   U.S. 447, 468 (2023). Notwithstanding the reference to that language, the Court’s

18   Order cites and correctly applies Groff in concluding that the “unrebutted” and

19   “overwhelming” evidence showed that accommodating Plaintiff would have

20   imposed an undue hardship on WSU by resulting in “increased travel costs, harm

21   to recruitment and fundraising efforts, and damage to WSU’s reputation and

22   donor commitments, in addition to an increased risk of exposure of COVID-19

23   to student athletes, other coaching staff, the media and the public.” ECF No. 135
                                                                PACIFICA LAW GROUP LLP
     DEFENDANT’S RULE 60(a)                     1                   1191 SECOND AVENUE
     MOTION                                                               SUITE 2000
                                                               SEATTLE, WASHINGTON 98101-3404
                                                                  TELEPHONE: (206) 245-1700
                                                                   FACSIMILE: (206) 245-1750
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1    at 6–7. Those burdens are undoubtedly “substantial in the context of [WSU’s]

2    business.” Groff, 600 U.S. 471; see ECF No. 93 at 24–25. Accordingly, under

3    Rule 60(a), removing the above quotation and citation to Balint would not change

4    the Order’s “operative, substantive terms” and would maintain “fidelity to the

5    intent behind the original judgment.” Garamendi v. Henin, 683 F.3d 1069, 1079

6    (9th Cir. 2012).

7          For those reasons, WSU respectfully requests that the Court correct the

8    two sentences in its Order referenced above.

9          DATED this 6th day of January, 2025.

10                                      PACIFICA LAW GROUP LLP
11                                      s/Zachary J. Pekelis
                                        Zachary J. Pekelis WSBA #44557
12                                      Ai-Li Chiong-Martinson, WSBA #53359
                                        Erica P. Coray, WSBA #61987
13                                      W. Scott Ferron, WSBA #61154
                                        Special Assistant Attorneys General
14                                      1191 Second Ave., Suite 2000
                                        Seattle, WA 98101
15

16                                      ROBERT W. FERGUSON
                                        Attorney General
17
                                        Spencer W. Coates, WSBA #49683
18                                      Assistant Attorney General
                                        800 Fifth Avenue, Suite 2000
19                                      Seattle, WA 98101-3404
20                                      Counsel for Defendant
                                        Washington State University
21

22

23
                                                                PACIFICA LAW GROUP LLP
     DEFENDANT’S RULE 60(a)                     2                   1191 SECOND AVENUE
     MOTION                                                               SUITE 2000
                                                               SEATTLE, WASHINGTON 98101-3404
                                                                  TELEPHONE: (206) 245-1700
                                                                   FACSIMILE: (206) 245-1750
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1                             CERTIFICATE OF SERVICE

2          I hereby certify that on January 6th, 2025, I electronically filed the

3    foregoing with the Clerk of the Court using the CM/ECF System, which in turn

4    automatically generated a Notice of Electronic Filing (NEF) to all parties in the

5    case who are registered users of the CM/ECF system. The NEF for the foregoing

6    specifically identifies recipients of electronic notice.

7          I declare under penalty of perjury under the laws of the State of

8    Washington and the United States of America that the foregoing is true and

9    correct.

10         DATED this 6th day of January, 2025, at Seattle, Washington.

11                                            /s/Zachary J. Pekelis
                                              ZACHARY J. PEKELIS, WSBA #44557
12                                            Special Assistant Attorney General
13

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21

22

23
                                                                    PACIFICA LAW GROUP LLP
     DEFENDANT’S RULE 60(a)                        3                    1191 SECOND AVENUE
     MOTION                                                                   SUITE 2000
                                                                   SEATTLE, WASHINGTON 98101-3404
                                                                      TELEPHONE: (206) 245-1700
                                                                       FACSIMILE: (206) 245-1750
